Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.810 Filed 10/25/22 Page 1 of 55




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


  TRUTEK CORP.,                           Case No. 2:21-cv-10312

                    Plaintiff,            Hon. Stephen J. Murphy, III

  v.

  BLUEWILLOW BIOLOGICS, INC.,
  et. al.

                  Defendants.


                   PLAINTIFF TRUTEK CORPORATION’S
                         AMENDED COMPLAINT



       NOW COMES Plaintiff, TRUTEK CORP., by and through its attorneys, the

 Law Office of Stanley H. Kremen and The Law Office of Keith Altman, and for

 their Amended Complaint, hereby states the following:

                                    PARTIES

 1. Plaintiff, TRUTEK CORP. ("TRUTEK") is a corporation of the State of New

    Jersey, with principal offices at 281 East Main Street, Somerville, New Jersey,

    08876.
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.811 Filed 10/25/22 Page 2 of 55




 2. Upon information and belief, Defendant, BlueWillow Biologics, Inc.

    ("BLUEWILLOW") is a corporation of the State of Delaware, with a place of

    business at 2311 Green Road, Suite A, Ann Arbor, Michigan 48105.

               FEDERAL SUBJECT MATTER JURISDICTION

 3. The subject matter jurisdiction of this Court arises under 28 U.S.C. § 1331

    concerning a federal question, the Patent Laws of the United States, 28 U.S.C. §§

    1338(a), (b), and 35 U.S.C. § 271.

                        IN PERSONAM JURISDICTION

 4. The in personam jurisdiction of this Court over Defendant BLUEWILLOW is

    proper under 28 U.S.C. § 1400(b) because the tort of patent infringement

    occurred in Michigan and BLUEWILLOW has an established place of business

    in Michigan.

                                         VENUE

 5. The venue of this Court is proper under the Patent Venue Statute, 28 U.S.C. §

    1400(b) since the tort of patent infringement occurred within the State of

    Michigan, and Defendant BLUEWILLOW has an established place of business

    thereat, and which is furthermore located within the venue of the Eastern District

    of Michigan.

            STATEMENT OF FACTS AND CAUSES OF ACTION

 6. Ashok Wahi ("WAHI") is Chief Science and IP Officer of Plaintiff TRUTEK.


                                           1
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.812 Filed 10/25/22 Page 3 of 55




 7. On November 21, 1995, United States Patent No. 5,468,488 (hereinafter the '488

    Patent) was issued to WAHI for his invention titled, "Electrostatically Charged

    Nasal Application Product and Method." The '488 Patent was assigned to

    TRUTEK.

 8. On October 7, 1997, United States Patent No. 5,674,481 (hereinafter the '481

    Patent) was issued to WAHI for his invention titled, "Electrostatically Charged

    Nasal Topical Application Product." The '481 Patent was assigned to TRUTEK.

 9. On January 18, 2005, United States Patent No. 6,844,005 (hereinafter the '005

    Patent) was issued to WAHI for his invention titled, "Electrostatically Charged

    Nasal Application Product With Increased Strength." The '005 Patent was

    assigned to TRUTEK.

 10.On April 24, 2012, United States Patent No. 8,163,802 (hereinafter the '802

    Patent) was issued to WAHI for his invention titled, "Electrostatically Charged

    Multi-Acting Nasal Application Product, and Method," on a patent application

    that was filed at the United States Patent and Trademark Office (USPTO) on May

    16, 2009. The '802 Patent was assigned to TRUTEK. The '802 Patent is attached

    hereto as Exhibit 6.

 11.The patented technology made it possible for people to apply TRUTEK's

    manufactured products in and around their nasal passages to reduce reactions to

    airborne allergens and to reduce or eliminate reactions to viral infections from


                                         2
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.813 Filed 10/25/22 Page 4 of 55




    influenza and the common cold by restricting and inactivating virus sized

    particles. This is done by establishing an electrostatic charge in and around nasal

    passages.

 12.As of the year 1992 going forward, TRUTEK utilized its patented and proprietary

    trade secret technology to establish proof of concept, develop, formulate,

    manufacture, sell, and/or license over-the-counter products under the brand name

    NasalGuard® AllergieBlock®, NasalGuard Cold&Flu Block®, NasalGuard®

    Multi Acting™, Anti-Stat Enhanced Mask™, NasalGuard Wipes™, NasalGuard

    Allergie Wipes™, NasalGuard Cold & Flu Wipes™, Skin and Hair super

    conditioners, Truteks® Skin and Truteks® skin care products, along with

    electrostatically charged nasal multipurpose products, nasal application (anti-

    stat) diagnostic products and, associated Technologies and Methodologies,

    Patents and Pending Patent Applications, also including products under the brand

    names Chloraseptic Allergen Block and Little Allergies Allergen Block, Eisai

    Crystal Veil, Eisai Crystal Veil Cool, Nitto Nuru Mask, Nitto NasalGuard, further

    including but not limited to nasal application product lines such as gels, pre-

    moistened products for e.g. applicators, swabs, wipes, etc., sticks, nasal sprays,

    nasal washes, surgical masks, and multi-acting/integrated products.

 13.Claim 1 of the '802 Patent claims a method of applying a formulation to the skin

    or tissue of a person's nasal passages in a thin film. The formulation attracts and


                                           3
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.814 Filed 10/25/22 Page 5 of 55




    holds particulate matter to the thin film, and binds it to the thin film. The bound

    particulate matter is then inactivated by at least one ingredient that renders it

    harmless. One such claimed inactivating ingredient is benzalkonium chloride

    (claim 7). This process is sometimes referred to as "catch, hold, and kill."

 14.Claim 2 of the ‘802 Patent claims a formulation that is applied to the skin or

    tissues of a person’s nasal passages in a thin film. The formulation contains a

    cationic agent (an ingredient that produces a positive electrostatic charge) and a

    biocidic agent (a substance that destroys or inhibits the growth or activity of

    living organisms). The formulation electrostatically attracts and holds particulate

    matter to the thin film, and binds it to the thin film. The bound particulate matter

    is then inactivated by at least one ingredient that renders it harmless. One such

    claimed cationic agent is benzalkonium chloride (claim 6) and one such claimed

    biocidic agent is benzalkonium chloride (claim 7). This formulation functions

    using the process referred to as “catch, hold, and kill,” supra.

                 BLUEWILLOW’S Nanobio® Protect Products

 15.According to information and belief, sometime in 2020, Defendant

    BLUEWILLOW manufactured and marketed one or more over-the-counter

    pharmaceutical products named NanoBio® Protect ("NANOBIO"). According to

    information and belief, the NANOBIO products were sold over-the-counter at




                                           4
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.815 Filed 10/25/22 Page 6 of 55




        least at CVS pharmacies nationwide, and were sold online to customers by

        Amazon.com.

 16.BLUEWILLOW's website advertises the NANOBIO product being applied to a

        customer's nasal passages. Their product forms positively charged "NanoBio

        Droplets" that are approximately 600 nanometers 1 in size, which adhere to nasal

        membranes. Most harmful particles, such as bacteria or viruses (referred to as

        "germs"), are negatively charged. The positively charged "NanoBio Droplets"

        attract and bind to these particles. The NANOBIO product formulation contains

        benzalkonium chloride (which the website calls BZK) that adheres to the surface

        of the "NanoBio droplets." According to the website, the "NanoBio droplets"

        surround the germs and "kill them via membrane disruption." (See Exhibit 1

        attached hereto.)            The NANOBIO product implements the methodology of

        "catch, hold, and kill." The NANOBIO website "Frequently Asked Questions"

        section (Exhibit 2) describing the product further enforces this mechanism of

        action.

 17.Sometime in 2020, WAHI suspected that the NANOBIO product infringes one

        or more of TRUTEK's patents. To that end, on June 23, 2020, TRUTEK

        personnel purchased the NANOBIO product from Amazon.com. After extensive

        in-house experimentation, it was indicated that the NANOBIO product functions


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     A nanometer is a billionth of a meter.

                                                   5
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.816 Filed 10/25/22 Page 7 of 55




    by producing an electrostatic charge in and around the user's nasal passages. It

    was indicated that NANOBIO product infringes claims of TRUTEK's '802

    Patent. On January 14, 2021, TRUTEK personnel purchased a NANOBIO

    product   from     CVS,   and   obtained   similar   results   through   in-house

    experimentation.

 18.To validate TRUTEK's in-house experimental results, TRUTEK contracted with

    Alexei Ermakov, Ph.D. to compare the electrostatic charges between

    BLUEWILLOW's NANOBIO product and TRUTEK's NasalGuard® products.

    His experiments showed not only that the NANOBIO product exhibited a surface

    electrostatic charge, but also that the orders of magnitude of the charges of the

    BLUEWILLOW and TRUTEK products were of the same order of magnitude.

    Dr. Ermakov's Report is attached hereto as Exhibit 3. For further verification,

    TRUTEK contracted with Electro-Tech Systems ("ETS") in Perkasie,

    Pennsylvania, to run additional experiments.           ETS personnel applied

    BLUEWILLOW's NANOBIO product and TRUTEK's NasalGuard® product to

    pig skin swatches. Pig skin is very similar to human skin tissue. The ETS and

    Ermakov experiments yielded similar results. The NANOBIO product exhibited

    a surface electrostatic charge of the same order of magnitude as the NasalGuard®

    product. The ETS report is attached hereto as Exhibit 4.




                                          6
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.817 Filed 10/25/22 Page 8 of 55




 19.On January 31, 2021, Keith Altman, a resident of the State of Michigan, ordered

    and paid for one unit of NanoBio Protect Nasal Antiseptic online from

    Amazon.com. The product was to be shipped by Amazon.com to his address in

    Michigan. Mr. Altman used his computer to place the order, and the computer is

    located in Michigan, and it was located therein at the time that he placed his order.

    On February 1, 2021, Mr. Altman received the ordered one unit of NanoBio

    Protect Nasal Antiseptic in Michigan at the designated Michigan shipping

    address. A declaration of Keith Altman attesting to these events is attached

    hereto as Exhibit 5.

 20.The ability to lessen the reactions to airborne contaminants by creating an

    electrostatic charge around a person's nasal passages was disclosed in TRUTEK's

    '488, '481, '005, and '802 Patents. A copy of the '802 Patent is attached hereto as

    Exhibit 6.

 21.The ability to lessen the reactions to airborne contaminants by creating an

    electrostatic charge around a person's nasal passages is inherent in TRUTEK's

    formulations and manufacturing processes.            Efficacy studies show that

    TRUTEK's methodology presented a viable solution to relief of allergy, cold, and

    flu symptoms.

 22.Upon information and belief, just as TRUTEK's products work on allergens and

    viruses by creating an electrostatic charge around nasal passages and further


                                            7
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.818 Filed 10/25/22 Page 9 of 55




    inactivate said allergens and viruses, the NANOBIO products work the same

    way.

 23.At some point after this lawsuit was filed, BLUEWILLOW discontinued sales of

    the NANOBIO products, and the product descriptions were removed from

    BLUEWILLOW’S website.

 24.The NANOBIO products were sold to customers by Amazon.com as are

    TRUTEK's competing products also sold thereby. The competitive sales of the

    competing NANOBIO products deprive TRUTEK of sales and profits from its

    own products.

 25.Upon information and belief, Defendants Robin Roe 1 through 10 and ABC

    Corporations 1 through 10 also infringe on the claims of TRUTEK's '802 Patent.



                     WILLFUL PATENT INFRINGEMENT

 26.Plaintiff owns intellectual property relating to an electrostatically charged multi-

    acting nasal application product and method covered by the ‘802 patent.

 27.Defendants distributed, made, used, offered to sell and/or sold infringing

    products, i.e., the NANOBIO products.

 28.Defendants distributed, made, used, offered to sell and/or sold infringing

    products, i.e., the NANOBIO products, which infringe on the ‘802 patent,

    without authority or license from Plaintiff.


                                           8
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.819 Filed 10/25/22 Page 10 of 55




 29.Defendants infringe at least claims 1, 2 and 7 of the ‘802 patent because the

    NANOBIO products possess an electrostatic charge when applied to a person’s

    nasal passages, and they use benzalkonium chloride as a cationic agent and also

    as a biocidic agent.

 30.Defendants received notice that the NANOBIO products infringed on claims 1,

    2, 6 and 7 of the ‘802 patent when Plaintiff filed the original complain in this

    action on February 10, 2021.

 31.Defendants had knowledge of the ‘802 patent on the date of the original

    complaint in the present action.

 32.Defendants continued to market, distribute, and sell NANOBIO products for

    approximately months after learning that the NANOBIO products infringed on

    claims 1, 2, 6 and 7 of the ‘802 patent. A copy of BlueWillow Biologics, Inc.’s,

    financial records are attached hereto as Exhibit 7.

 33.Defendants provided Plaintiff with copies of BlueWillow Bioligics, Inc.’s,

    financial records after the close of discovery.

 34.Plaintiff has analyzed BlueWillow Bioligics, Inc.’s financial records, and the

    records establish by a preponderance of the evidence that enhanced damages are

    appropriate.

 35.Defendants’ actions constitute willful patent infringement under 35 U.S.C. § 284

    and 35 U.S.C. § 285.


                                           9
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.820 Filed 10/25/22 Page 11 of 55




 36.Under 35 U.S.C. § 284, when the damages are not found by a jury, the court shall

    assess them; in either event the court may increase the damages up to three times

    the amount found or assessed.



                             GENERAL ALLEGATIONS

 37.Plaintiff incorporates all of the above Paragraphs supra as though fully restated

    herein.

 38.Plaintiff owns intellectual property related to certain formulations based upon

    attracting and/or repelling electrostatically charged particles in and around a

    person's nasal passages by application of a product that maintains an electrostatic

    charge on the skin or mucous membranes. Plaintiff has expended considerable

    resources to inventing, formulating, and developing its inventions and products

    and to protecting its rights therein. Plaintiff holds all rights, title, and interest to

    its '488, '481, '005, and '802 Patents. The '802 Patent is in full force and effect.

    TRUTEK is the legal owner of the '802 Patent and possesses all rights of recovery

    under the patent.



                             STATEMENT OF CLAIMS

                                        COUNT 1

                           Infringement of the '802 Patent


                                             10
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.821 Filed 10/25/22 Page 12 of 55




 39.Plaintiff incorporates all of the above Paragraphs supra as though fully restated

    herein.

 40.Plaintiff owns intellectual property relating to an electrostatically charged multi-

    acting nasal application product and method covered by the '802 patent.

 41.Defendants distributed, made, used, offered to sell and/or sold infringing

    products, i.e., the NANOBIO products.

 42.Defendants distributed, made, used, offered to sell and/or sold infringing

    products, i.e., the NANOBIO products, which infringed on the '802 Patent,

    without authority or license from Plaintiff.

 43.Defendants infringe at least claims 1, 2, and 7 of the '802 Patent because the

    NANOBIO products possess an electrostatic charge when applied to a person's

    nasal passages, and they use benzalkonium chloride as a cationic agent and also

    as a biocidic agent.

 44.Plaintiff has been damaged as a result of Defendants' infringement of the '802

    Patent, and will continue to be damaged unless such infringement is enjoined by

    this Court pursuant to 35 U.S.C. § 283.

 45.Pursuant to 35 U.S.C. § 284, Plaintiff is entitled to damages adequate to

    compensate in an amount not less than a fair and reasonable royalty.

 46.Alternatively, as the NANOBIO products are no longer being sold by

    Defendants, Plaintiff is entitled to damages adequate to compensate in an amount


                                           11
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.822 Filed 10/25/22 Page 13 of 55




    not less than the profits realized by Defendants for past sales of the NANOBIO

    products.

 47.Pursuant to 35 U.S.C. § 284, Plaintiff is entitled to damages adequate to

    compensate in an amount not less than a fair and reasonable royalty.

 48.Plaintiff is entitled to a judgment from the Court, which enjoins sales or

    commercialization by BLUEWILLOW of its NANOBIO products until after

    expiration of the ‘802 Patent.

                                      COUNT 2

                      Willful Infringement of the ‘802 Patent

 49.Plaintiff incorporates all of the above paragraphs supra as though fully restated

    herein.

 50.Plaintiff owns intellectual property relating to an electrostatically charged multi-

    acting nasal application product and method covered by the ‘802 patent.

 51.Defendants distributed, made, used, offered to sell and/or sold infringing

    products, i.e., the NANOBIO products.

 52.Defendants distributed, made, used, offered to sell and/or sold infringing

    products, i.e., the NANOBIO products, which infringe on the ‘802 patent,

    without authority or license from Plaintiff.

 53.Defendants infringe at least claims 1, 2, 6, and 7 of the ‘802 patent because the

    NANOBIO products possess an electrostatic charge when applied to a person’s


                                           12
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.823 Filed 10/25/22 Page 14 of 55




    nasal passages, and they use benzalkonium chloride as a cationic agent and also

    as a biocidic agent.

 54.Under 35 U.S.C. § 284, when the damages are not found by a jury, the court shall

    assess them; in either event the court may increase the damages up to three times

    the amount found or assessed.

 55.Defendants had knowledge of the ‘802 patent on the date of the original

    complaint in the present action.

 56.Defendants continued to market, distribute, and sell NANOBIO products for

    months after learning that the NANOBIO products infringed on claims 1, 2, 6,

    and 7 of the ‘802 patent.

 57.Defendants’ actions and financial records demonstrate that Defendants’ conduct

    amounted to intentional or knowing infringement of the 802’ patent.

 58.Defendants’ actions constitute willful patent infringement under 35 U.S.C. § 284

    and 35 U.S.C. § 285.

 59.Pursuant to 35 U.S.C. § 285, the court in exceptional circumstances may award

    reasonable attorneys’ fees to the prevailing party.



                                PRAYER FOR RELIEF

       Wherefore, Plaintiff prays that:




                                          13
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.824 Filed 10/25/22 Page 15 of 55




          a) Defendants be required to pay over and account to Plaintiff for all gains,

             profits, and advantages derived from the infringement of its '802 Patent

             beginning April 24, 2012, based upon manufacture, sales, and/or use of

             the NANOBIO products in the United States and anywhere in the

             world, or by way of international commerce with the United States.

          b) Defendants be enjoined from manufacturing and/or selling the

             NANOBIO products in the United States, either directly or indirectly.

          c) Defendants be enjoined from actively inducing others to sell the

             NANOBIO products in the United States, either directly or indirectly.

          d) Plaintiff prays for such other and further relief as the Court may deem

             to be just and proper.



         DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

       Pursuant to Defendants' discovery obligations, demand is made that all

 Defendants disclose to the Plaintiff whether or not there are any insurance

 agreements or policies under which any person or firm carrying on an insurance

 business may be liable to satisfy part or all of a judgment which may be entered in

 this action or indemnify or reimburse for payments made to satisfy the judgment and

 provide Plaintiff with true copies of those insurance agreements or policies,

 including, but not limited to, any and all declarations sheets. This demand shall


                                          14
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.825 Filed 10/25/22 Page 16 of 55




 include and cover not only primary coverage, but also any and all excess, catastrophe

 and umbrella policies.



                          DEMAND FOR A JURY TRIAL

       Plaintiff hereby demands a trial by jury of all issues triable of right by a jury.


 Dated: October 25, 2022                 Respectfully submitted,

                                         /s/ Stanley H. Kremen
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                                         Attorneys for Plaintiff, Trutek Corp.




                                           15
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.826 Filed 10/25/22 Page 17 of 55




                     EXHIBIT 1
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.827 Filed 10/25/22 Page 18 of 55




                                                                                                       Bringing Nanoscience to Life


                                                                      Company            NanoBio® Protect   NanoVax® Platform   News




        NanoBio® Protect Nasal Antiseptic Solution




        NanoBio® Protect is an alcohol-free nasal
        antiseptic solution that can be used to
        help reduce germs on skin that can cause
        infections. The product is easy to apply
        with any cotton swab for use on the skin
        around the rim of your nose as well as the
        skin up to one-half inch inside each nostril.
        It is non-irritating, fragrance-free and
        leaves no residue after application.

        NanoBio® Protect is an FDA regulated
        over-the-counter skin antiseptic that
        incorporates the active ingredient
        benzalkonium chloride (BZK), which has
        been used in humans as a topical skin
        antiseptic since the 1940’s. NanoBio®
        Protect is similar in concept to a hand sanitizer but is designed for use on the skin inside and around the
        nose where germs frequently enter the body.



https://bluewillow.com/nanobio-protect/[2/7/2021 4:40:49 PM]
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
             Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.828 Filed 10/25/22 Page 19 of 55
        The unique effectiveness of NanoBio® Protectis derived from BlueWillow’s patented nanotechnology.
        NanoBio® Protect places the BZK antiseptic on the surface of nano-droplets, which results in at least four key
        advantages:

            1. The nano-droplets are attracted to germs by electro-kinetic charge and present the BZK in such a way
                to enable killing of germs on contact,
            2. The droplets persist on skin for 4 or more hours, enabling long-lasting effectiveness,
            3. The droplets significantly hydrate skin to avoid dryness and cracking that can allow germs in.
            4. And lastly, when bound to nano-droplets, BZK is non-irritating to the skin.

        NanoBio® Protect kills
        germs via membrane
        disruption. NanoBio®
        Protect is comprised of
        positively charged
        droplets that are 300–
        600nm in size. The
        droplets are attracted
        to negatively charged
        germs in the skin. As
        shown to the right, the
        nano-droplets
        physically disrupt the outer membrane of germs, killing on contact.

        NanoBio® Protect is applied by thoroughly swabbing the skin up to one-half inch inside of each nostril and is
        recommended for use to help reduce germs on the skin in and around the nose that can cause infections. It
        should be used in conjunction with frequent handwashing, limited touching of the face, and social
        distancing to help minimize infection. Each 0.75 oz bottle of NanoBio® Protect will provide 40 or more
        treatments. A single application should involve the use of two swabs, including one for each nostril, or the
        use of a double-sided swab.

        The product can be applied to the skin every 4–8 hours as needed, and is recommended for use during
        periods of increased risk of exposure to germs. For example, a healthcare worker might apply NanoBio®
        Protect two or more times a day. A flight attendant might apply the product 1–2 times during a long flight.
        Whereas, someone that is mostly staying at home in isolation may only need to apply it once a day or every
        few days prior to heading to the store or to an appointment.

        Scientific Research Behind NanoBio® Protect
        BlueWillow’s
        nasal
        antiseptic


https://bluewillow.com/nanobio-protect/[2/7/2021 4:40:49 PM]
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.829 Filed 10/25/22 Page 20 of 55




        has not
        been
        clinically
        tested to
        confirm
        protection
        against
        COVID-19
        infection in
        humans. It
        has




        demonstrated both anti-bacterial and anti-viral activity in laboratory tests making it a potentially important
        additive measure to reduce the risk of infection

        Standard in vitro lab experiments demonstrate that NanoBio® Protect kills more than 99.99% of germs within
        60 seconds of exposure, as shown in the graph to the right.

        Recent studies conducted by Public Health England also demonstrate NanoBio® Protect’s ability to kill
        COVID-19 virus in laboratory tests. However, as stated above, studies to test for protection in humans have
        not yet been performed.

        In addition, ex vivo tests in human skin (Figure A below) demonstrate that NanoBio® Protect persists on skin
        up to 7x better than commercial products and aqueous solutions containing the same BZK antiseptic agent.
        In vivo studies conducted in human volunteers (Figure B below) demonstrate that a single application of
        NanoBio® Protect significantly increases skin hydration for at least 3 hours, as compared to common hand
        sanitizer products:




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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.830 Filed 10/25/22 Page 21 of 55




        Safety
        NanoBio® Protect and similar NanoBio® formulations have been tested extensively in animal and human
        studies involving topical application to skin. These studies demonstrate that topical NanoBio® products are
        non-irritating and are not absorbed systemically. The products are alcohol-free and are comprised of
        nanodroplets that have been optimized to provide significant advantages when used as topical antiseptic
        products, without being absorbed through the skin and into the bloodstream.

        NanoBio® Protect’s active ingredient is 0.13% benzalkonium chloride, which is regulated by the FDA as a skin
        antiseptic and has been used in humans for over 75 years. Unlike alcohol-based products, NanoBio® Protect
        does not irritate or dry out the skin, and instead provides a moisturizing and comforting experience. The
        product should be applied with any cotton swab to the skin around the nose and up to one-half inch inside
        of each nostril where germs frequently enter the body.

https://bluewillow.com/nanobio-protect/[2/7/2021 4:40:49 PM]
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.831 Filed 10/25/22 Page 22 of 55

        Peer-Reviewed Scientific Publications
        Other scientific publications describe the extensive research conducted with topical NanoBio formulations,
        as listed below:

            “A Nanoemulsion as an Effective Treatment Against Human Pathogenic Fungi”. Therapeutics and Prevention.
            2019, Nov/Dec 4:6
            “Screening of Nanoemulsion Formulations and Identification of NB-201 as an Effective Topical Antimicrobial
            for Staphylococcus aureus in a Mouse Model of Infected Wounds”. Military Medicine. 2016, May: 181, 5S:259-
            264
            “Nanoemulsion Therapy for Burn Wounds Is Effective as a Topical Antimicrobial Against Gram-Negative and
            Gram-Positive Bacteria”. Burn Care Res. 2016, March /April: 37(2); 104-114
            “Treatment With a Novel Topical Nanoemulsion (NB-001) Speeds Time to Healing of Recurrent Cold Sores”.
            Drugs Dermatol. 2012 Aug; 11(8):970-7
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https://bluewillow.com/nanobio-protect/[2/7/2021 4:40:49 PM]
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.832 Filed 10/25/22 Page 23 of 55
        BlueWillow Biologics
        2311 Green Road | Ann Arbor, Michigan 48105
        Telephone: 734-302-4000 | Fax: 734-302-9150

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Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.833 Filed 10/25/22 Page 24 of 55




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                     EXHIBIT 2
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.834 Filed 10/25/22 Page 25 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.835 Filed 10/25/22 Page 26 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.836 Filed 10/25/22 Page 27 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.837 Filed 10/25/22 Page 28 of 55




                     EXHIBIT 3
         Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.838 Filed 10/25/22 Page 29 of 55

      Determination of Surface Electrostatic Charge on Nasal Application Test Products
   Test Conducted and Report Prepared by Alexei Ermakov; Ph. D. (Physics), Sr. Consultant


    I.    TEST OBJECTIVE

          The purpose of this test was to determine the magnitude (amount) of the surface electrostatic charge
          created by means of application of solution, serum, and spray containing permanently ionized
          molecules.

    II. APPARATUS SETUP

          The apparatus used in this electrostatic charge measurement of three nasal products comprised of a
          metal box containing a test sample spinner and a sensing electrode, which was connected to a Keithley
          Instruments 823 nano-volt amplifier (Figure 1).

                              Sensing Electrode
           Coated Sample        -     -    -                                 Amplifier
                                   +   +    +
                       Substrate
                                                                                                        V
                                                                                                     Voltmeter

                                                          C         R
                           Motor


                                                              Figure 1
                                                            (Not to scale)

          In Figure 1, C and R indicate the capacitance and resistance of the input circuitry of the amplifier
          respectively. Input capacitance was measured to be 80 pF and input resistance was 50 MΩ.

          The spinner box and the sensing electrode apparatus are shown in Figure 2.




                                                                               Amplifier



                                                       Sensing electrode




                                                                                         Substrate
                  Spinner On-Off Switch

                                                              Figure 2

          The sensing electrode is made of 1.3 mm diameter copper wire. When the metal box top is in the
          closed position, the sensing electrode is about 1.5 mm above the sample surface.
//Confidential// January 11, 2021 //       Determination of Surface Electrostatic Charge / NanoBio               Page 1 of 3
     Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.839 Filed 10/25/22 Page 30 of 55


    III. METHOD

        Using the above mentioned apparatus, the amount of surface charge can be determined by means of
        measurement of induced image charges in the sensing electrode. The polarity of charge, i.e. cationic or
        anionic, was not the objective of this test measurement.

        For each of the three nasal test products, a plain sheet of identical printer paper was used as a
        substrate. Each of these samples was prepared by coating the test product on 1-inch square substrate
        by a product under test. Three samples for each item/product were tested identically, an average
        calculated and recorded. Four items tested are shown in the Figure 3 below:

                Product Test Samples:
                1.    Blank / Uncoated Substrate
                2.    TTK-APB / NasalGuard Airborne Particle Blocker (Gel)
                3.    TTK-NS / NasalGuard Misting Spray (Nasal Spray)
                4.    BW-NBP / Blue Willow NanoBio Protect (Solution for applications by a swab)




               1. Blank                    2. TTK-APB                 3. TTK-NS                  4. BW-NBP
          Uncoated Substrate           NasalGuard Airborne        NasalGuard Misting        Blue Willow NanoBio
                                       Particle Blocker (Gel)     Spray (Nasal Spray)        Protect (Solution)


                       Figure 3 – Samples which were used in test conducted on December 22, 2020

        Forceps were used every time each sample was placed onto and removed from the spinner. Each
        sample was carefully placed onto the spinner and the motor was switched ‘On’. The metal box is then
        closed in order for the spinning sample to be within close distance (1.5 mm) below the copper sensing
        electrode.

        During the sample spinning, treated and untreated surface repeatedly moved under the sensing
        electrode and the induced image creates an AC electrical current in the circuitry connected to the
        sensing electrode of the apparatus. The induced current is measured and is proportional to the surface
        electrostatic charge.




//Confidential// January 11, 2021 //   Determination of Surface Electrostatic Charge / NanoBio        Page 2 of 3
     Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.840 Filed 10/25/22 Page 31 of 55

    IV. TEST RESULTS

        The surface charge was calculated using the following formula:

                                                             Q=V*C/A

        Where Q is charge per unit area, V is measured voltage on the sensing electrode, C is capacitance and
        A is the area of the sample under the sensing electrode.


        The measured surface charges for the tested products are:


                                                                                             Charge
                                       V Output (*)                      V Electrode
        Product / Trade Name                            Amp Gain                        Coulomb/in. sq. +/-
                                          Volts                             Volts
                                                                                               (*)
                                        0.7 +/- 0.10      100,000            7.0E-06    7.0E-15 +/- 3.0E-16
                 Blank
                                        0.7 +/- 0.10      100,000           7.0E-06     7.0E-15 +/- 3.0E-16
          (Uncoated Substrate)
                                        0.6 +/- 0.10      100,000           6.0E-06     6.0E-15 +/- 3.0E-16
                              Avg.      0.7 +/- 0.10      100,000            7.0E-06    6.67E-15 +/- 3.0E-16
          NasalGuard Airborne           1.1 +/- 0.10       10,000            1.1E-04    8.80E-14 +/- 3.0E-15
          Particle Blocker (Gel)        0.72 +/- 0.10      10,000            7.2E-05    5.76E-14 +/- 3.0E-15
                TTK-APB                 1.3 +/- 0.10       10,000            1.3E-04    1.04E-13 +/- 3.0E-15
                              Avg.      1.04 +/- 0.10      10,000            1.0E-04    8.32E-14 +/- 3.0E-15
       NasalGuard Misting Spray         1.12 +/- 0.10      10,000           1.12E-04    8.96E-14 +/- 3.0E-15
            (Nasal Spray)               0.9 +/- 0.10       10,000            9.0E-05    7.20E-14 +/- 3.0E-15
              TTK-NS                   0.675 +/- 0.10     10,000            6.75E-05    5.40E-14 +/- 3.0E-15
                              Avg.      0.90 +/- 0.10      10,000            9.0E-05    7.19E-14 +/- 3.0E-15
          Blue Willow NanoBio           0.07 +/- 0.10      10,000            7.0E-05    5.60E-14 +/- 3.0E-15
            Protect (Solution)          0.58 +/- 0.10      10,000            5.8E-05    4.64E-14 +/- 3.0E-15
                BW-NBP                  0.35 +/- 0.10      10,000            3.5E-05    2.80E-14 +/- 3.0E-15
                              Avg.      0.54 +/- 0.10      10,000            5.4E-05    4.35E-14 +/- 3.0E-15
      (*) Indicates the approximate uncertainty of the value indicated in the column.


    V. CONCLUSION

            1) The test products i.e., Blank, NasalGuard Airborne Particle Blocker Gel, NasalGuard Misting
               Spray, and NanoBio Protect Solution, all demonstrated the presence of a surface electrostatic
               charge.

            2) The surface electrostatic charge measured was determined to be approximately (in order of
               magnitude) similar in all three product samples tested.


    Signatures:


    _________________________________
    (Alexei Ermakov)




//Confidential// January 11, 2021 //    Determination of Surface Electrostatic Charge / NanoBio          Page 3 of 3
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.841 Filed 10/25/22 Page 32 of 55




                     EXHIBIT 4
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.842 Filed 10/25/22 Page 33 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.843 Filed 10/25/22 Page 34 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.844 Filed 10/25/22 Page 35 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.845 Filed 10/25/22 Page 36 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.846 Filed 10/25/22 Page 37 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.847 Filed 10/25/22 Page 38 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.848 Filed 10/25/22 Page 39 of 55




                     EXHIBIT 5
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.849 Filed 10/25/22 Page 40 of 55



   1                        IN THE UNITED STATES DISTRICT COURT
   2                             EASTERN DISTRICT OF MICHIGAN
   3

   4        Stanley H. Kremen,
   5        Attorney at Law
            4 Lenape Lane
   6        East Brunswick, New Jersey 08816
            (732) 593-7294
   7        Attorney for the Plaintiff

   8

   9
                    TRUTEK CORP.,
  10                   Plaintiff,

  11                        v.
                                                      CIVIL ACTION No. ___________________
  12        BlueWillow Biologics, Inc.
        ROBIN ROE 1 through 10, gender
  13     neutral fictitious names, and ABC
       CORPORATION 1 through 10 (fictitious
  14                    names).

  15                  Defendants.

  16

  17

  18                               DECLARATION OF KEITH ALTMAN

  19            I, Keith Altman, being of full age, hereby depose and say under penalties of

  20   perjury according to the laws of the United States and the State of Michigan:

  21   1.       I am a resident of the State of Michigan.

  22   2.       On January 31, 2021, I ordered one unit of NanoBio Nasal Antiseptic online from

  23            Amazon.com using my computer, which is located in the State of Michigan. The

  24            Order Number is 112-1762892-7659450. The shipping address is 30474 Fox

  25            Club Drive, Farmington Hills, MI 48331-1956.        Once my online order was

  26            completed and payment was made, I was informed that the product shipped the

  27            same day. A copy of the sales receipt and invoice is attached hereto as Exhibit A.

  28   //
                                                     1
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.850 Filed 10/25/22 Page 41 of 55



   1   3.    On February 1, 2021, I received the one unit of NanoBio Nasal Antiseptic that was
   2         apparently shipped to me from Amazon.com at the above address in Farmington
   3         Hills, Michigan.
   4

   5         I declare that the statements made by me above are true and that the exhibits
   6   attached hereto are genuine and are correctly described above. I understand that I am
   7   subject to the penalties of perjury for false representations according to the laws of the
   8   United States and the State of Michigan.
   9

  10
                                                            _____________________________
  11                                                                Keith Altman
  12

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Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.851 Filed 10/25/22 Page 42 of 55




                     EXHIBIT A
    Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.852 Filed 10/25/22 Page 43 of 55




                                                 Final Details for Order #112-1762892-7659450

Order Placed: January 31, 2021
Amazon.com order number: 112-1762892-7659450
Order Total: $22.47

                                                          Shipped on January 31, 2021


Items Ordered                                                                                                                                   Price
1 of: NanoBio Protect Nasal Antiseptic | Reduces the risk of respiratory infection | Kills 99.99% of Germs | 8 Hour Protection | Safe          $21.20
for Kids, Daily Use | Nasal Disinfectant | 40+ Uses | FSA/HSA eligible
Sold by: BlueWillow Biologics (seller profile)
Condition: New



Shipping Address:                                                                                                        Item(s) Subtotal:     $21.20
Keith Altman
                                                                                                                     Shipping & Handling:       $0.00
30474 FOX CLUB DR
FARMINGTON HILLS, MI 48331-1956                                                                                                                   -----
United States                                                                                                              Total before tax:   $21.20
                                                                                                                                 Sales Tax:     $1.27
Shipping Speed:                                                                                                                                   -----
One-Day Shipping                                                                                               Total for This Shipment:        $22.47
                                                                                                                                                  -----


                                                                Payment information
Payment Method:                                                                                                            Item(s) Subtotal: $21.20
Visa | Last digits: 3621
                                                                                                                       Shipping & Handling: $0.00
Billing address                                                                                                                                 -----
Keith Altman                                                                                                               Total before tax: $21.20
30474 FOX CLUB DR                                                                                                           Estimated Tax: $1.27
FARMINGTON HILLS, MI 48331-1956
                                                                                                                                                -----
United States
                                                                                                                              Grand Total: $22.47

FSA or HSA eligible                                                       FSA or HSA eligible amount (includes taxes & shipping): $22.47

                                         To view the status of your order, return to Order Summary .


                                   Conditions of Use | Privacy Notice © 1996-2020, Amazon.com, Inc.
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.853 Filed 10/25/22 Page 44 of 55




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                     EXHIBIT B
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.854 Filed 10/25/22 Page 45 of 55
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.855 Filed 10/25/22 Page 46 of 55




                     EXHIBIT 6
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.856 Filed 10/25/22 Page 47 of 55
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                                                                                                             US008163 802B2


  c12)   United States Patent                                                          (IO) Patent No.:                        US 8,163,802 B2
         Wahi                                                                          (45) Date of Patent:                               Apr. 24, 2012

  (54)   ELECTROSTATICALLY CHARGED                                                 (56)                        References Cited
         MULTI-ACTING NASAL APPLICATION,
         PRODUCT, AND METHOD                                                                           U.S. PATENT DOCUMENTS
                                                                                         1,071,015 A            8/1913     Adler
  (75)   Inventor:     Ashok Wahi, Hillsborough, NJ (US)                                 2,237,954 A            4/1941     Wilson
                                                                                         2,433,565 A           12/1947     Korman
                                                                                         2,751,906 A           10/1953     Irvine
  (73)   Assignee: Trutek Corp., Hillsborough, NJ (US)
                                                                                         2,777,442 A            1/1957     Zelano
                                                                                         3,145,711 A            8/1964     Beber
  ( *)   Notice:       Subject to any disclaimer, the term ofthis                        3,513,839 A            5/1970     Vacante
                       patent is extended or adjusted under 35                           4,030,491 A            6/1977     Mattila
                       U.S.C. 154(b) by 316 days.                                        4,052,983 A           10/1977     Bovender
                                                                                         4,267,831 A            5/1981     Aguilar
                                                                                         4,401,117 A            8/1983     Gershuny
  (21)   Appl. No.: 12/467,271                                                           4,789,504 A           12/1988     Ohmori eta!.
                                                                                         4,874,659 A           10/1989     Ando eta!.
  (22)   Filed:        May 16, 2009                                                      5,468,488 A           11/1995     Wahi
                                                                                         5,674,481 A           10/1997     Wahi
                                                                                         6,844,005 B2           1/2005     Wahi
  (65)                     Prior Publication Data                                    2003/0223934 Al           12/2003     Wahi
         US 2010/0004337 Al               Jan. 7, 2010                             Primary Examiner - Raymond Henley, III
                                                                                   (74) Attorney, Agent, or Firm - Stanley H. Kremen
                   Related U.S. Application Data
                                                                                   (57)                           ABSTRACT
  (60)   Provisional application No. 61/085,855, filed on Aug.
         3, 2008, provisional application No. 61/078,478, filed                    A product to reduce and method of reducing the risk of
         on Jul. 7, 2008.                                                          inhalation of harmful substances by applying a formulation
                                                                                   composition to a substrate or the skin in close proximity of
  (51)   Int. Cl.                                                                  one or more nostrils. This formulation, when applied creates
                                                                                   an electrostatic field having a charge. The electrostatic field
         A61K 31/198                    (2006.01)
                                                                                   attracts airborne particulates of opposite charge to the sub-
         A61K 31/14                     (2006.01)
                                                                                   strate that are in close proximity to the substrate close to the
  (52)   U.S. Cl. ........................................ 514/564; 514/643        skin and a biocidic agent renders microorganisms coming in
  (58)   Field of Classification Search .................. 514/564,                contact the substrate or skin less harmful.
                                                      514/643; 128/206.11
         See application file for complete search history.                                                23 Claims, No Drawings
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.857 Filed 10/25/22 Page 48 of 55


                                                        US 8,163,802 B2
                                 1                                                                     2
          ELECTROSTATICALLY CHARGED                                     contaminants to the nasal passages by capturing the contami-
         MULTI-ACTING NASAL APPLICATION,                                nants and keeping them from entering the body. In the present
              PRODUCT, AND METHOD                                       invention, these electrostatically charged nasal application
                                                                        products capture and hold the contaminants including
             CROSS REFERENCE TO RELATED                             5   viruses, bacteria, and other harmful microorganisms or toxic
                    APPLICATIONS                                        particulates, inactivate them dermally outside the body and
                                                                        render them harmless.
  a) The Present application is the non-provisional counterpart
     of my pending U.S. Provisional Patent Application Ser. No.                    BACKGROUND OF THE INVENTION
     61/085,555 (the '555 application) filed on Aug. 3, 2008 10
     which is incorporated by reference in its entirety herein.           The nasal passages and nasal mucosa serve as body entry
     The Present application claims the benefit of and priority to     points for a wide variety of noxious and toxic substances. The
     said '555 application.                                            body's immune system responds with certain relatively harm-
  b) The Present application is also the non-provisional coun-         less irritants to the nasal passages and airways with reflex
     terpart of my pending U.S. Provisional Patent Application 15
                                                                       responses such as coughing and sneezing. This merely re-
     Ser. No. 61/078,478 (the '478 application) filed on Jul. 7,
                                                                       introduces the irritants into the environment. However, when
     2008 which is incorporated by reference in its entirety
                                                                       the irritant comprises microorganisms, especially those that
     herein. The Present application claims the benefit of and
     priority to said '478 application.                                reproduce within the body and that are transmitted by cough-
  c) The Present application is likewise related to my prior U.S. 20 ing and sneezing, others may become infected. When a per-
     Provisional Patent Application Ser. No. 60/570,103 (the           son feels a cough or a sneeze coming on, he merely covers his
     '103 application) filed on May 12, 2004 (now expired), and        nose and mouth. However, if that person is contagious, this
     which is incorporated by reference in its entirety herein.        action does little to prevent others from also becoming
     The '4 78 application provides a virtually identical disclo-      infected. Furthermore, the use of a tissue or handkerchief for
     sure to the '103 application.                                  25 this purpose is extremely inefficient. This limits the protec-
  d) Furthermore, the Present application is related to my pend-       tion of an individual from becoming infected or infecting
     ing U.S. Provisional Application Ser. No. 61/078,472 filed        others.
     on Jul. 7, 2008, which is incorporated by reference in its           Other means of dealing with preventing inhalation of
     entirety herein.                                                  harmful or irritating substances or of infections agents
  e) The Present application is also related to my prior U.S. 30 include wearing facemasks to filter out these irritants. An
     Provisional Patent Application Ser. No. 60/598,462 filed          example of this is the simple dust mask, typically found in the
     on Aug. 3, 2004 (now expired), and which is incorporated          hardware store or medical supply store. However, even these
     by reference in its entirety herein.                              are inadequate and inefficient. In many localities, during flu
  f) The Present application is additionally related to my U.S.        season, one can see a large number of people wearing these
     Pat. No. 5,468,488, entitled "ELECTROSTATICALLY 35 dust masks in public places. The dust masks are now known
     CHARGED NASAL APPLICATION PRODUCT AND                             to be ineffective. Another example of this preventative
     METHOD" issued on Nov. 21, 1995. This patent is incor-            method is the gas mask, which is more efficient than the dust
     porated by reference in its entirety herein.                      mask. Yet, even gas masks are not highly efficient with respect
  g) The Present application is further related to my U.S. Pat.        to microscopic and sub-microscopic microorganisms. Fur-
     No. 5,674,481, entitled "ELECTROSTATICALLY 40 thermore, they are extremely cumbersome and cannot gener-
     CHARGED NASAL TOPICAL APPLICATION PROD-                           ally be used during normal day-to-day activities.
     UCT" issued on Oct. 7, 1997. This patent is incorporated             Patents such as U.S. Pat. No. 6,844,005 describe electro-
     by reference in its entirety herein.                              statically charged compositions that may be applied exter-
  h) The Present application is moreover related to my U.S. Pat.       nally in the vicinity of the nostril and attract oppositely
     No. 6,844,005 entitled "ELECTROSTATICALLY 45 charged materials that would otherwise be inhaled. However,
     CHARGED NASAL APPLICATION PRODUCT WITH                            those compositions simply create an electrostatic field that
     INCREASED STRENGTH" issued on Jan. 18, 2005. This                 helps to filter out oppositely charged materials. While this
     patent is incorporated by reference in its entirety herein.       action may offer suitable protection against particles that are
  i) Finally, this application is furthermore related to US Non-       inhaled passively, they suffer from the fact that they cannot
     Provisional Utility patent application Ser. No. 10/082,978 50 completely deal with particulates that have their own internal
     entitled "ELECTROSTATICALLY CHARGED NASAL                         means of overcoming the electrostatic forces, such as micro-
     APPLICATION PRODUCT WITH INCREASED                                organisms that are motile within the air stream. Furthermore,
     STRENGTH" filed on Feb. 25, 2002. This patent applica-            actions by the person having those electrostatic compositions
     tion is incorporated by reference in its entirety herein.         in the vicinity of the nostrils can sufficiently displace the
                                                                    55 offending particles or organisms, especially in such instances
                   FIELD OF THE INVENTION                              as blowing or wiping the nose, so that particles that were held
                                                                       captive by the former compositions could become dislodged,
     The Present Invention relates to the field of protective          again set free, and be inhaled.
  compositions against assault by various irritants and noxious
  substances as well as against assault by assorted microorgan- 60                     OBJECTS OF THE INVENTION
  isms that typically gain entry into the body through the airway
  and/or nasal mucosa. The Present Invention also relates to              It is therefore an object of the invention to provide a com-
  anti-viral, anti-bacterial, and anti-microbial products and                 position that can be readily applied to the exterior region
  methods that involve the use of products heretofore devel-                  around the nostril and/or slightly inside the edge of the
  oped for restricting the flow of airborne contaminants into the 65          nostril or near the vicinity of the source of release with
  nasal passages by creating an electrostatic field in an area near           method and compositions capable of capturing particu-
  about the nasal passages. This reduced the inflow of airborne               lates and microorganisms.
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.858 Filed 10/25/22 Page 49 of 55


                                                            US 8,163,802 B2
                                   3                                                                            4
    It is another object of the invention to have the capability to    tain viral particles and/or bacteria. This is a means of trans-
        hold it for a duration from being dislodged in to the air      mission of several diseases by inhaled airborne particles as
        stream again.                                                  follows:
    It is a further object of the invention to provide a compo-
        sition that can be applied near the vicinity of the source 5
        of release or to the area around the exterior of and/or
                                                                       VIRAL DISEASES                  BACTERIAL DISEASES
        slightly inside the edge of the nostril that will inactivate,  (virus type in brackets)        (bacterial name in brackets)
        kill, or render harmless a microorganism, which has
        been captured and held by the composition.                     Chickenpox    (Varicella)       Whooping    cough (Bordetella pertussis)
    It is yet another object of the invention to provide a com- 10 Flu (Influenza)                     Meningitis (Neisseria species)
                                                                       Measles (Rubeola)               Diphtheria ( Corynebacterium
        position that can be applied to a filter substrate for         German measles (Rubella)        diphtheriae)
        improving the substrates ability to trap and hold particu-     Mumps (Mumps)                   Pnewnonia (Mycaplasma pneumoniae,
        lates and microorganisms and to simultaneously inacti-         Smallpox (Variola)              Streptococcus species)
                                                                       SARS (Human Corona)             Tuberculosis (Mycobacterium
        vate, kill, or render harmless the microorganisms so
                                                                                                       tuberculosis)
        trapped. Such filter substrate could be placed in the close 15                                 Anthrax (Anthracsis bacterium)
        proximity of the skin near the path of inhalation, near the
        source of release of such particulates while the inhaler is
        at a distance or both.                                            Diseases caused by environmental particulates include, but
    It is still anotherobject of the invention to provide a method            are not limited to the following:
        of prophylactically preventing or of substantially reduc- 20
        ing the risk of infection by an infectious agent without
        the utilization of ingested antiviral and/or antibacterial
                                                                       ENVIRONMENTAL
        agents.                                                        PARTICULATE DISEASES                 SOURCE
    Yet other objects of the invention will be apparent to those
        of ordinary skill once having benefit of the instant dis- 25 Psittacosis (Chlamydia psittaci)       Dried, powdery droppings from
                                                                                                            infected birds (parrots, pigeons, etc.)
        closure. In all of the foregoing objects, the deficiencies     Legionnaire's disease (Legionella    Droplets from air-conditioning
        of the previously mentioned prior art are overcome by          pneumophila)                         systems, water storage tanks, etc.,
        the teachings of this invention.                                                                    where the bacteriwn grows.
                                                                           Acute allergic alveolitis (various   FW1gal or actinomycete spores from
                                                                        30 fungal and actinomycete spores)      decomposing organic matter
              SUMMARY OF THE INVENTION
                                                                                                                (composts, grain stores, hay, etc.)
                                                                            Aspergillosis (Aspergillus          Fungal spores inhaled from
     These and other objects of the invention are unexpectedly        fumigatus, A.flavus, A. niger)            decomposing organic matter.
  achieved by an electro statically charged composition having         Histoplasmosis (Histoplasma              Spores of the fungus, in old,
                                                                       capsulatum)                              weathered bat or bird droppings.
  at least one polymeric quaternary compound in an aqueous or
                                                                       Coccidioidomycosis ( Coccidioides        Spores in air-blown dust in desert
  non-aqueous based formulation, which when applied to a 35 immitis)                                            regions (Central, South and North
  surface, creates an electrostatic field such that oppositely                                                  America) where the fungus grows in
  charged airborne particulates (including microorganisms) in                                                   the soil.
  the vicinity of the surface are electro statically trapped, held
  thereto and one or more of the microorganisms so captured is            To accomplish the present invention, a formulation having
  neutralized, killed, inactivated, and rendered harmless.         40
                                                                      at least one polyquaternary ammonium compound is pre-
                                                                       pared, such compounds, alone or together capable of creating
      DETAILED DESCRIPTION OF THE INVENTION
                                                                       an electrostatic field on and around a surface to which it is
     The present invention relates to anti-microorganism, anti-        applied, including surfaces such as skin, textile (woven and
  viral/anti-bacterial products and methods that involve the use 45 non-woven), and hard surfaces, such as floors, walls, wood,
  of products that restrict the flow of airborne contaminants into     metal, plastic, etc. The formulation is generally aqueous
  the nasal passages by creating an electrostatic field in an area     based, but may include non-aqueous solvents used which are
  near about the nasal passages. Additionally, in the present          compatible with the other formulation components and the
  invention, these electrostatically charged nasal application         application surface to which it is applied. Preferably, the
  products are used to hold the contaminants including micro- 50 formulation is an aqueous formulation. In addition to the
  organisms, viruses, bacteria, and other harmful or toxic par-        polyquaternary ammonium compound, the composition
  ticulate outside the body and render them harmless.                  includes at least. Furthermore, the composition may contain,
     Emergencies of Anthrax lead to the concept of avoidance           but is not required to contain various thickeners, gellants,
  of inhaling airborne microscopic and sub-microscopic con-            fragrances, colorants, emollients, humectants, and generally
  taminants. It is the intention of the Present Invention to filter 55 other suitable components that are compatible with the end
  and render harmless materials such as anthrax spores, human          use application and the other components of the formulations.
  corona virus, smallpox virus, influenza virus, avian flu virus,      Thus, a composition of the invention that is intended to be
  swine flu virus, rhino virus, and other biological or chemical       applied to a filter substrate that is perhaps used as a mask with
  elements/toxins/irritants, and the like, prior to their entering     an additional liner between a user and the filter substrate may
  the nasal passages.                                               60 utilize materials that would not be compatible with direct
     Airborne microorganisms are a major cause of respiratory          contact with skin, although it is preferable that all of the
  ailments in humans, causing allergies, asthma, and patho-            components are compatible with direct application to the skin
  genic infections of the respiratory tract. Airborne fungal           as a means of limiting reaction due to inadvertent contact
  spores are also important agents that spread diseases. Respi-        between the composition and the skin.
  ratory diseases cause many fatalities and are a cause of great 65       A formulation of the invention comprises:
  concern. During a sneeze, millions of tiny droplets of water            water,
  and mucus are expelled at a high velocity. The droplets con-            at least one quaternary thickener,
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.859 Filed 10/25/22 Page 50 of 55


                                                               US 8,163,802 B2
                                   5                                                                        6
     a preservative,                                                                         TABLE I-continued
     a conditioner,
     an emulsifier,                                                       Ingredient                    Percent Range     Function
     a biocidic agent, and
     a neutralizing agent added to adjust and achieve a pH in the 5       Stearyl Alcohol                   1%-3%         Thickener
        range of 5.0 to 6.8.                                              Cetyl Alcohol                  0.25%-1%         Thickener
     It may further comprise without limitation a combination             Ceteareth - 20,                   1%-2%         Emulsifier
  of the following:                                                       PEG - 40 Stearate,
     a surfactant,
                                                                  10      Cetearyl Alcohol
     a thickener,
                                                                          Water,                          0.5%-1.5%       Conditioner
     an emollient,
                                                                          Hydrolyzed Algin
     a humectant, and
                                                                          Hydrolized Soy Protein         0.25%-1%         Conditioner
     a binder.
     In an exemplary embodiment of such a formulation, a 15
  quaternary thickener may comprise without limitation, at
  least one of the following:
                                                                                                    TABLE2
     Polyquaternium-10
     Polyquaternium-22                                               Ingredient                  Percent Range Function
     Polyquaternium-67
                                                                  20 Water                         72%-88%      Solvent, Moisturizer
     Polyquaternium-70                                               Phenoxyethanol                    1%       Preservative
     Polyquaternium-72                                               Methylparaben,
     Polyquaternium-88                                               Propylparaben,
     Cocodimonium Hydroxypropyl Hydrolyzed Keratin                   Butylparaben,
                                                                     Ethylparaben,
     Hydroxypropyltrimonium Wheat Protein                         25 Isobutylparaben
     Benzalkonium Chloride may also serve the same function,         Lysine HCL                        1%       Conditioner, Biocide
  but it is also a cationic agent as well as a biocide. Another      Polyquatemium - 67             3%-6%       Conditioner, Quaternary
  biocide that may be used is Lysine HCL.                            Nonoxynol - 10                 2%-4%       Surfactant
                                                                     Cocodimoniwn                 0.5%-2%       Conditioner, Quaternary
     In an exemplary embodiment of such a formulation, an            Hydroxypropyl
  emulsifier may comprise without limitation, at least one of the 30 Hydrolyzed Keratin
  following:                                                         Polyquatemium - 72           0.5%-2%       Conditioner, Quaternary
     Cetyl Alcohol (which can also serve as a thickener)             Polyquatemium - 88             1%-4%       Conditioner, Quaternary
                                                                     Cetearyl Alcohol,              1%-4%       Emulsifier
     Cetearyl Alcohol                                                Glyceryl Stearate
     Glyceryl Stearate                                               Emulsifier,
     Ceteareth-20                                                 35
                                                                     PEG - 40 Stearate,
     PEG-40 Stearate                                                 Ceteareth - 20
                                                                     Cetearyl Alcohol,              0.5%        Emulsifier
     Dicetyl Phosphate                                               Dicetyl Phosphate,
     Ceteth-10 Phosphate                                             Ceteth - 10 Phosphate
     In an exemplary embodiment of such a formulation, the           Benzalkonium Chloride       0.25%-1%       Cationic, Quaternary, Biocide
  emollient may be Isocetyl Behenate without limitation. The         Hydroxypropyltrimonium            1%       Conditioner, Quaternary
                                                                  40 Wheat Protein
  thickener may be Cetyl Alcohol or Stearyl Alcohol without          Sodium Hydroxide            0.01 %-0.05% Neutralizing Agent
  limitation.
     In an exemplary embodiment of such a formulation, a
  preservative may comprise without limitation, at least one of
  the following:                                                                                    TABLE3
                                                                  45
     Phenoxyethanol;
                                                                     Ingredient                  Percent Range Function
     Methylparaben;
     Butylparaben;                                                   Water                         67%-87%      Solvent, Moisturizer
     Ethylparaben;                                                   Phenoxyethanol,                   1%       Preservative
                                                                     Methylparaben,
     Propy lparaben;                                              50 Propylparaben,
     Isobutylparaben.                                                Butylparaben,
     Examples of typical formulations found to be effective          Ethylparaben,
  appear in the ten tables that follow. Percentages are given by     Isobutylparaben
                                                                     Lysine HCL                        1%       Conditioner, Biocide
  weight.                                                            Polyquaternium - 67            3%-7%       Conditioner, Quaternary
                                                                         55 Polyquaternium - 72        3%-7%      Conditioner, Quaternary
                              TABLE 1                                       Cocodimoniwn               1%-4%      Conditioner, Quaternary
                                                                            Hydroxypropyl
      Ingredient                  Percent Range   FW1ction                  Hydrolized Keratin
                                                                            Polyquaternium - 88         1%-4%     Conditioner, Quaternary
      Water                         62%-80%       Solvent, Moisturizer      Cetyl Alcohol             1.5%-2.5%   Thickener
      Gluconolactone,                   1%        Preservative              Cetearyl Alcohol,           1%-4%     Emulsifier
                                                                         60
      Sodiwn Benzoate                                                       Glyceryl PEG - 40
      Lysine HCL                        1%        Conditioner                Stearate,
      Polyquatemium - 67               3%-6%      Conditioner               Ceteareth - 20
      Octoxynol - 9                    2%-5%      Surfactant                Benzalkonium Chloride    0.25%-1 %    Cationic, Quaternary, Biocide
      Polyquatemium - 72             6%-10%       Conditioner               Hydroxypropyltrimonium        1%      Conditioner, Quaternary
      Polyquatemium - 70           0.5%-1%        Conditioner               Wheat Protein
      Dipropylene Glycol                                                 65 Sodium Hydroxide         .025%-.075% Neutralizing Agent
      Isocetyl Behenate                4%-6%      Emollient
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.860 Filed 10/25/22 Page 51 of 55


                                                               US 8,163,802 B2
                                  7                                                                                8
                             TABLE4                                                                       TABLE 6-continued
  Ingredient               Percent Range Function                                Ingredient                  Percent Range     Function

  Water                     71%-83%         Solvent, Moisturizer                 Cetearyl Alcohol,              1%-3%          Emulsifier
  Phenoxyethanol,             1%            Preservative                    5    Glyceryl Stearate,
  Methylparaben,                                                                 PEG - 40 Stearate,
  Propylparaben,                                                                 Ceteareth - 20
  Butylparaben,                                                                  Benzalkonium Chloride       0.25%-1%          Conditioner, Quaternary,
  Ethylparaben,                                                                                                                Biocide
  Isobutylparaben
                                                                               Hydroxypropyltrimonium             1%           Conditioner, Quaternary
  Lysine HCL                    1%          Conditioner, Biocide            10 Wheat Protein
  Polyquatemium - 67         4%-6%          Conditioner, Quaternary
                                                                               Sodium Hydroxide              0.05%-0.75%       Neutralizing Agent
  Polyquatemium - 72         4%-6%          Conditioner, Quaternary
  Cocodimonium               2%-4%          Conditioner, Quaternary
  Hydroxypropyl
  Hydrolyzed Keratin
  Polyquatemum - 88           1%-3%         Conditioner, Quaternary
                                                                            15                                TABLE 7
  Cetyl Alcohol                2%           Thickener
  Cetearyl Alcohol,           1%-3.5%       Emulsifier                           Ingredient                    Percent Range     Function
  Glyceryl Stearate,
  PEG - 40 Stearate,                                                           Water                             67%-86%         Solvent, Moisturizer
                                                                               Phenoxyethanol,                      1%           Preservative
  Ceteareth - 20
                                                                               Methylparaben,
  Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide   20 Butylparaben,
  Hydroxypropyltrimonium        1%          Conditioner, Quaternary
                                                                               Ethylparaben,
  Wheat Protein                                                                Isobutylparaben
  Sodium Hydroxide         .025%-.075% Neutralizing Agent                      Lysine HCL                          1%            Conditioner, Biocide
                                                                               Polyquatemium - 10                 1%-4%          Conditioner, Quaternary
                                                                               Polyquatemium - 67                 1%-4%          Conditioner, Quaternary
                                                                            25 Polyquatemium - 72               0.5%-1.5%        Conditioner, Quaternary
                             TABLES                                            Cocodimoniwn                     0.5%-1.5%        Conditioner, Quaternary
                                                                               Hydroxypropyl Hydrolized
  Ingredient               Percent Range Function                                Keratin
                                                                               Microcare Quat CTC 30              1%-3%          Conditioner, Quaternary
  Water                     73%-85%         Solvent, Moisturizer               Polyquaternium - 88                1%-3%          Conditioner, Quaternary
  Phenoxyethanol,               1%          Preservative                    30 Polyquaternium - 22                1%-3%          Conditioner, Quaternary
  Methylparaben,                                                               Cetyl Alcohol                      3%-5%          Thickener
  Propylparaben,                                                               Cetearyl Alcohol,                  2%-3%          Emulsifier
  Butylparaben,                                                                Glyceryl Stearate,
  Ethylparaben,                                                                PEG - 40 Stearate,
  Isobutylparaben                                                              Ceteareth - 20
  Lysine HCL                   1%           Conditioner, Biocide               Benzalkonium Chloride           0.25%-1%          Conditioner, Quaternary,
                                                                            35
  Polyquatemium - 67         2%-3%          Conditioner, Quaternary                                                              Biocide
  Polyquatemium - 72         4%-6%          Conditioner, Quaternary              Hydroxypropyltrimonium             1%           Conditioner, Quaternary
  Cocodimonium               2%-4%          Conditioner, Quaternary              Wheat Protein
  Hydroxypropyl                                                                  Sodium Hydroxide              0.05%-0.1%        Neutralizing Agent
  Hydrolyzed Keratin
  Polyquatemium - 88          1%-3%         Conditioner, Quaternary
  Cetyl Alcohol                2%           Thickener                       40
  Cetearyl Alcohol,           1%-3%         Emulsifier                                                        TABLES
  Glyceryl Stearate,
  PEG - 40 Stearate,
                                                                                 Ingredient                  Percent Range     Function
  Ceteareth - 20
  Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide      Water                           58%-74%         Solvent, Moisturizer
  Hydroxypropyltrimonium        1%          Conditioner, Quaternary         45 Phenoxyethanol,                    1%           Preservative
  Wheat Protein                                                                Methylparaben,
  Sodium Hydroxide         0.05%-0.75% Neutralizing Agent                      Propylparaben,
                                                                               Butylparaben,
                                                                               Ethylparaben,
                                                                               Isobutylparaben
                             TABLE6                                         50 Lysine HCL                         1%           Conditioner, Biocide
                                                                               Glycerin                          10%           Humectant
  Ingredient                Percent Range     Function                         Glyceryl Acetate/Acrylic           1%           Conditioner, Humectant
                                                                               Acid Copolymer
  Water                       69%-85%         Solvent, Moisturizer             Polyquaternium - 10              1%-4%          Conditioner, Quaternary
  Phenoxyethanol,                1%           Preservative                     Polyquaternium - 67              1%-3%          Conditioner, Quaternary
  Methylparaben,                                                            55 Polyquaternium - 72            0.5%-1.5%        Conditioner, Quaternary
  Propylparaben,                                                                 Cocodimoniwn                 0.5%-1.5%        Conditioner, Quaternary
  Butylparaben,                                                                Hydroxypropyl
  Ethylparaben,                                                                Hydrolyzed Keratin
  Isobutylparaben,                                                             Cetrimonium Chloride             1%-3%          Conditioner, Quaternary
  Lysine HCL                     1%           Conditioner, Biocide             Polyquaternium - 88              1%-3%          Conditioner, Quaternary
  Polyquatemium - 10        0.25%-0.85%       Conditioner, Quaternary          Polyquaternium - 22              1%-3%          Conditioner, Quaternary
                                                                            60
  Polyquatemium - 67         1.5%-3.5%        Conditioner, Quaternary          Cetyl Alcohol                     4%            Thickener
  Polyquatemium - 72           4%-6%          Conditioner, Quaternary          Cetearyl Alcohol,                2%-3%          Emulsifier
  Cetyl Alcohol                1%-3%          Thickener                        Glyceryl Stearate,
  Cocodimonium                 2%-4%          Conditioner, Quaternary          PEG - 40 Stearate,
  Hydroxypropyl                                                                Ceteareth - 20
  Hydrolyzed Keratin                                                           Polybutene                        4%            Binder
  Polyquatemium - 88           1%-3%          Conditioner, Quaternary       65 Benzalkonium Chloride         0.25%-1%          Conditioner, Quaternary,
  Polyquatemium - 22           1%-3%          Conditioner, Quaternary                                                          Biocide
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.861 Filed 10/25/22 Page 52 of 55


                                                                 US 8,163,802 B2
                                      9                                                                       10
                             TABLE 8-continued                                                      TABLE 10-continued

  Ingredient                    Percent Range   Function                       Ingredient                Percent Range   Function

  Hydroxypropyltrimonium             1%         Conditioner, Quaternary        Wheat Protein
                                                                           5   Sodium Hydroxide          0.05%-0.1 %     Neutralizing Agent
  Wheat Protein
  Sodium Hydroxide             .0.05%-0.1 %     Neutralizing Agent
                                                                                 All of the formulations described in TABLE 1-10 repre-
                                                                              senting various embodiments of the Present Invention operate
                                 TABLE9                                       in the manner that was disclosed herein. The same results may
                                                                           10
                                                                              be achieved by varying the percentages for the active and
  Ingredient                    Percent Range   Function                      inactive ingredients. Varying the percentages for the active
                                                                              ingredients affects the potency of the formulation. Varying
  Water                           54%-73%       Solvent, Moisturizer
  Phenoxyethanol,                   1%          Preservative                  the percentages for the inactive ingredients affects the con-
  Methylparaben,                                                           15 sistency of the formulation. The desired results may be
  Propylparaben,                                                              achieved by varying the ingredients and their amounts by
  Butylparaben,                                                               those skilled in the art without undue experimentation.
  Ethylparaben,
  Isobutylparaben                                                                I claim:
  Lysine HCL                         1%         Conditioner, Biocide
                                                                                 1. A method for electrostatically inhibiting harmful par-
  Glycerin                           8%         Humectant
  Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant     20 ticulate matter from infecting an individual through nasal
  Acid Copolymer                                                              inhalation wherein a formulation is applied to skin or tissue of
  Polyquaternium - 10              1%-4%        Conditioner, Quaternary       nasal passages of the individual in a thin film, said method
  Polyquaternium - 67              1%-4%        Conditioner, Quaternary
  Polyquaternium - 72            0.5%-2%        Conditioner, Quaternary
                                                                              comprising:
  Cocodimonium                   0.5%-2%        Conditioner, Quaternary          a) electro statically attracting the particulate matter to the
  Hydroxypropyl                                                            25       thin film;
  Hydrolyzed Keratin                                                             b) holding the particulate matter in place by adjusting the
  Cetrimonium Chloride             1%-3%        Conditioner, Quaternary
  Polyquaternium - 88              1%-3%        Conditioner, Quaternary
                                                                                    adhesion of the thin film to permit said thin film to stick
  Polyquaternium - 22              1%-3%        Conditioner, Quaternary             to the skin or tissue and by adjusting the cohesion of the
  Cetyl Alcohol                     4%          Thickener                           formulation to provide adequate impermeability to the
  Cetearyl Alcohol,                2%-3%        Emulsifier                 30       thin film; and,
  Glyceryl Stearate,
  PEG - 40 Stearate,
                                                                                 c) inactivating the particulate matter by adding at least one
  Ceteareth - 20                                                                    ingredient that would render said particulate matter
  Polybutene                       3%-4%        Binder                              harmless.
  Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,         2. A formulation for electrostatically inhibiting harmful
                                                Biocide
                                                                           35 particulate matter from infecting an individual through nasal
  Hydroxypropyltrimonium             1%         Conditioner, Quaternary
  Wheat Protein                                                               inhalation wherein the formulation is applied to skin or tissue
  Sodium Hydroxide              0.05%-0.1 %     Neutralizing Agent            of nasal passages of the individual in a thin film, said formu-
                                                                              lation comprising at least one cationic agent and at least one
                                                                              biocidic agent, and wherein said formulation, once applied:
                                                                           40    a) electro statically attracts the particulate matter to the thin
                                 TABLE 10
                                                                                    film;
  Ingredient                    Percent Range   Function                         b) holds the particulate matter in place by adjusting the
                                                                                    adhesion of the thin film to permit said thin film to stick
  Water                           52%-71 %      Solvent, Moisturizer
  Phenoxyethanol,                    1%         Preservative
                                                                                    to the skin or tissue and by adjusting the cohesion of the
  Methylparaben,                                                           45       formulation to provide adequate impermeability to the
  Propylparaben,                                                                    thin film; and,
  Butylparaben,                                                                  c) inactivates the particulate matter and renders said par-
  Ethylparaben,
  Isobutylparaben
                                                                                    ticulate matter harmless.
  Lysine HCL                         1%         Conditioner, Biocide             3. The formulation of claim 2 wherein the at least one
  Glycerin                           9%         Humectant                  50 cationic agent is a polymeric quaternary ammonium com-
  Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant        pound.
  Acid Copolymer
  Polyquaternium - 10
                                                                                 4. The formulation of claim 3 wherein the at least one
                                   1%-3.5%      Conditioner, Quaternary
  Polyquaternium - 67              1%-3%        Conditioner, Quaternary       polymeric quaternary ammonium compound is taken from
  Polyquaternium - 72            0.5%-2%        Conditioner, Quaternary       the group consisting of:
  Cocodimonium                   0.5%-2%        Conditioner, Quaternary    55    Polyquaternium-10,
  Hydroxypropyl
  Hydrolyzed Keratin
                                                                                 Polyquaternium-22,
  Cetrimonium Chloride             1%-3%        Conditioner, Quaternary          Polyquaternium-67,
  Polyquaternium - 88              1%-3%        Conditioner, Quaternary          Polyquaternium-70,
  Polyquaternium - 22              1%-3%        Conditioner, Quaternary          Polyquaternium-72, and
  Cetyl Alcohol                     4%          Thickener
  Cetearyl Alcohol,                1%-4%        Emulsifier
                                                                           60    Polyquaternium-88.
  Glyceryl Stearate,                                                             5. The formulation of claim 2 wherein the at least one
  PEG - 40 Stearate,                                                          cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed
  Ceteareth - 20                                                              Keratin or Hydroxypropyltrimonium Wheat Protein.
  Polybutene                       5%-6%        Binder
                                                                                 6. The formulation of claim 2 wherein the at least one
  Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,
                                                Biocide                    65 cationic agent is Benzalkonium Chloride.
  Hydroxypropyltrimonium             1%         Conditioner, Quaternary          7. The formulation of claim 2 wherein the at least one
                                                                              biocidic agent is Benzalkonium Chloride or Lysine HCL.
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.862 Filed 10/25/22 Page 53 of 55


                                                      US 8,163,802 B2
                               11                                                                  12
    8. A formulation for electrostatically inhibiting harmful            17. The formulation of claim 13 further comprising an
  particulate matter from infecting an individual through nasal       emollient.
  inhalation wherein the formulation is applied to skin or tissue        18. The formulation of claim 13 further comprising a
  of nasal passages of the individual in a thin film, said formu-     humectant.
  lation comprising:                                                     19. The formulation of claim 13 further comprising a
     a) at least one biocidic agent, and                              binder.
     b) at least one quaternary thickener.                               20. The formulation of claim 13 wherein the preservative is
     9. The formulation of claim 8 wherein the at least one           taken from the group consisting of:
  biocidic agent is Benzalkonium Chloride or Lysine HCL.                 Phenoxyethanol,
                                                                   10    Methylparaben,
     10. The formulation of claim 8 wherein the at least one
                                                                         Butylparaben,
  quaternary thickener is taken from the group consisting of:
                                                                         Ethylparaben, and
     Polyquaternium-10,
                                                                         Isobutylparaben.
     Polyquaternium-22,                                                  21. The formulation of claim 13 wherein the emulsifier is
     Polyquaternium-67,                                            15 taken from the group consisting of:
     Polyquaternium-70,                                                  Cetyl Alcohol,
     Polyquaternium-72, and                                              Cetearyl Alcohol,
     Polyquaternium-88.                                                  Glyceryl Stearate,
     11. The formulation of claim 8 wherein the at least one             Ceteareth-20,
  cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed 20             PEG-40 Stearate,
  Keratin or Hydroxypropyltrimonium Wheat Protein.                       Dicetyl Phosphate,
     12. The formulation of claim 8 wherein the at least one             Ceteth-10 Phosphate.
  cationic agent is Benzalkonium Chloride.                               22. The formulation of claim 16 wherein the thickener is
     13. The formulation of claim 8 further comprising:               Cetyl Alcohol or Stearyl Alcohol.
     a) water,                                                     25    23. The formulation of claim 13 wherein:
     b) a preservative,                                                  a) the amount of water ranges from 54% to 90% by weight
     c) a conditioner, and                                               b) the amount of the quaternary thickener ranges from
     d) an emulsifier.                                                      0.5% to 5.0% by weight,
     14. The formulation of claim 13 further comprising a neu-           c) the amount ofbiocidic agent ranges from 0.25% to 2%
  tralizing agent added to adjust a pH in the range of 5.0 to 6.8. 30       by weight,
     15. The formulation of claim 13 further comprising a sur-           d) the amount of emulsifier ranges from 0.5% to 4% by
  factant.                                                                  weight.
     16. The formulation of claim 13 further comprising a thick-
  ener.                                                                                     * * * * *
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.863 Filed 10/25/22 Page 54 of 55




                     EXHIBIT 7
Case 4:21-cv-10312-FKB-RSW ECF No. 44-1, PageID.864 Filed 10/25/22 Page 55 of 55




                  Exhibit 7
              to be filed under
                   SEAL
